           Case 1:23-cr-00257-TSC Document 168 Filed 11/28/23 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA

      v.                                                Case No. 1:23-cr-00257-TSC

   DONALD J. TRUMP,

                    Defendant.

             PRESIDENT DONALD J. TRUMP’S SECOND CIPA § 5 NOTICE

       President Donald J. Trump respectfully submits this Second Notice pursuant to CIPA § 5

to inform the Court and the Special Counsel’s Office that President Trump reasonably expects to

disclose, or to cause the disclosure of, the classified information described in the document that

was produced by the Office and made available to the defense on November 8, 2023. Based on

the information currently available, President Trump expects that the disclosure(s) would occur

during questioning of one or more individuals referenced in the document should any of them

testify at the trial, or during questioning of other trial witnesses regarding those individuals.

 Dated: November 28, 2023                           Respectfully submitted,

                                                    /s/ Todd Blanche
 John F. Lauro, Esq.                                Todd Blanche, Esq. (PHV)
 D.C. Bar No. 392830                                ToddBlanche@blanchelaw.com
 jlauro@laurosinger.com                             Emil Bove, Esq. (PHV)
 Gregory M. Singer, Esq. (PHV)                      Emil.Bove@blanchelaw.com
 gsinger@laurosinger.com                            BLANCHE LAW PLLC
 LAURO & SINGER                                     99 Wall St., Suite 4460
 400 N. Tampa St., 15th Floor                       New York, NY 10005
 Tampa, FL 33602                                    (212) 716-1250
 (813) 222-8990

 Counsel for President Donald J. Trump
